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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §     Case No. 3:18-CR-345-L
                                                 §
 ANDREW BLAIR KASNETZ                            §


                      DEFENDANT’S MOTION FOR LEAVE TO FILE
                     OBJECTIONS TO GOVERNMENT’S EXHIBIT LIST

TO THE HONORABLE UNITED STATES DISTRICT JUDGE SAM LINDSEY:

       COMES NOW, Defendant, Andrew Kasnetz, through the undersigned counsel, making

and filing this his Motion for Leave to File Objections to Government’s Exhibit List

and, in support thereof, would respectfully show unto the Court the following:

       1.      For good cause, Defendant moves the Court for leave to file Defendant’s objections

to the Government’s Exhibit List for the reasons that Defendant has been to great degree unable to

participate in the defense of this case for the last several weeks due to having had several recent

necessary surgeries (an ablation performed on February 15, 2022, rotator cuff repair on March 8,

2022, and hyperplasia on March 25, 2022) and associated post-operative pain, medication and

recuperation. As further good cause, it was necessary for Defendant and Defendant’s counsel to

review certain items identified by the Government on March 18, 2022 as the Government’s exhibits

at the offices of the FBI as same have been identified as contraband. The necessities of the

Government and Defendant’s counsel attendance – compounded by Defendant’s operative and

post-operative situation and other trial preparation matters – required the coordinating of a number

of complex and busy schedules and the defense was only able to review the “contraband” exhibits

after the Court’s March 28, 2022 deadline on April 1, 2022.


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       2.       Accordingly, Defendant moves the Court for leave to file its objections to the

 Government’s exhibit list after the Court’s deadline.

       3.       Defendant, by and through his undersigned counsel, would offer the following

 objections:



 No.        Description                                  Reason
 1-14,      Items seized / collected as fruit of Illegal 4th Amendment
 16-17,     Search (Motions for Suppression denied).
 19,
 21-34,
 36-39,
 41-47
 3-12,   Images & videos (alleged contraband) and R. 403
 32-34   screenshots of file structures (containing Unfair prejudice
         contraband).                               outweighs
                                                    probative value.
 4-13,   Items seized / collected through forensic R.s 602, 801 &
 19, 21, means.                                     901
 24,                                                Personal
 27-34,                                             knowledge,
 36-39,                                             hearsay, and
 42-47                                              authentication.
 37-39 Tax Documents & MBK Trust Agreement R. 401 & 801
                                                    Relevance and
                                                    hearsay.

       WHEREFORE, PREMISES CONSIDERED, Defendant moves the Court for leave to file

the Defendant’s objections to the Government’s exhibit list.


                                              Respectfully submitted:


                                              By: /s/ Jeffrey T. Hall
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                                                State Bar No. 00787622
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                                             ATTORNEY FOR DEFENDANT
                                             ANDREW BLAIR KASNETZ


                                CERTIFICATE OF SERVICE

       THIS IS TO CERTIFY that a copy of the foregoing document was served by filing

electronically, utilizing the CM/ECF system currently in operation by this Court, which CM/ECF

system will automatically notify the assigned prosecutor at the United States Attorney’s Office for

the Northern District of Texas. The electronic case filing system will send a Notice of Electronic

Filing to opposing counsel of record. Accordingly, this document was served, under the Federal

Rules of Criminal Procedure, upon all parties or their counsel of record on April 7, 2022.



                                             /s/ Jeffrey T. Hall
                                             Jeffrey T. Hall




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